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                               Exhibit 9
           Case
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                                                       Yahoo Mail - HuddlestonPage 2 of 2 PageID #: 4219




     Huddleston

     From: Ty Clevenger (tyclevenger@yahoo.com)

     To:      andrea.parker@usdoj.gov

     Date: Monday, October 31, 2022 at 03:24 PM EDT



     Andrea,

     Someone sent me a list of FBI forms that would be relevant to the Seth Rich laptop /
     disk, and I have posted them below. I am aware of the 302 in which someone met with
     an agent and prosecutor from Mueller's office, but I do not recall seeing any of the other
     forms. Please ask the FBI if it has any of the forms below. Thank you.

     Ty


     FD-886 - Evidence Recovery Log
     FD-192 - FBI Evidence - Data Loading Form
     FD-441a - Return Receipt for Evidence Control Custodian
     FD-455 - Access. Log - Evidence Storage Facility
     FD-504a - Chain of Custody - ELSUR Evidence Envelope (9-1/2 x 12 inches)
     FD-631 - Letter to Accompany Return of Documentary Evidence
     FD-632 - Evidence Transmittal Envelope
     FD-597 - Receipt for Property Received, Returned, Released, Seized
     FD-756 - Special Case Items Property Receipt




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